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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PATSY WIDAKUSWARA, et al.,

Plaintiffs,

y Case No. 1:25-ev-1015-RCL
. Case No. 1:25-cv-0887-RCL

KARI LAKE, in her official capacity as
Senior Advisor to the Acting CEO of the
United States Agency for Global Media, et
al.,

Defendants.

MICHAEL ABRAMOWITZ, et al.,
Plaintiffs,

v.

KARI LAKE, in her official capacity as

Senior Advisor to the Acting CEO of the

United States Agency for Global Media, et
al.,

Defendants.

ORDER
On June 23, 2025, the Court held a hearing on the Motions for an Order to Show Cause,
filed in both Widakuswara v. Lake and Abramowitz v. Lake, regarding the defendants’ alleged
noncompliance with Part III of this Court’s April 22 preliminary injunction. Pursuant to the
Court’s discussion with government counsel at the conclusion of the hearing, it is hereby
ORDERED that the defendants will file a supplemental memorandum with additional

information regarding USAGM’s recent activities, including any relevant information about
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USAGM funding decisions, personnel updates, and submissions to Congress by Friday, June 27,
2025; and it is hereby

ORDERED that the plaintiffs will file any reply by Wednesday, July 2, 2025; and it is
hereby

ORDERED that the defendants’ Motions to Stay [Widakuswara ECF No. 114, and
Abramowitz ECF No. 43] are DENIED, given the ongoing nature of the pending Motions for an

Order to Show Cause currently under advisement.
IT ISSO ORDERED.

Date: June * 7, 2025 Ly C Audi
Royce C, Lamberth
United States District Judge

